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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:17-CR-224-AT-CMS
   A LLEN J. P ENDERGRASS



              Government’s Notice of Intent to Offer Business Records
                   Pursuant to Federal Rule of Evidence 902(11)

   The United States of America, by Kurt R. Erskine, Acting United States

Attorney, and Jeffrey A. Brown, Assistant United States Attorney for the
Northern District of Georgia, files this Notice of Intent to Offer Business Records
Pursuant to Federal Rule of Evidence (“FRE”) 902(11).
   To promote efficiency at trial, the government hereby provides notice that it
intends to introduce into evidence the certain business records pursuant to FRE
902(11) and 803(6) in lieu of calling multiple records custodians for
authentication. Through this Notice, the government complies with the
requirement of advance notice to the defense and provides an opportunity for
inspection of the following exhibits:

       Fort Collins documents (Fort-Collins 1 -18) (FRE 902(11) certificate at
        Fort Collins -1);

       City of Atlanta Documents (COA 119 – 190, 196 – 215, 217-240 and 242-
        331) (FRE 902(11) Certificate will be provided in advance of trial);
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       United States Postal Service Form (COA -344) (FRE 902(11) Emailed
        the USPS form and Certificate on October 27, 2021 to counsel of
        record);

       Wells Fargo (Wells 1-6, 12-18, 20-38, 43-46, 2133-2817, 2985-3070, 5674-
        5706) (FRE 902(11) Certificate will be provided in advance of trial);

       Bank of America Documents (BOA -1 – 269) (FRE 902(11) certificate at
        BOA-1);

       Synovus Bank/Bank of North Georgia (Synovus-1- 737) (FRE 902(11)
        certificate at Synovus-1);

       SunTrust Bank (SunTrust 1-105, 572-604) (FRE 902(11) Certificate will
        be provided in advance of trial);

       BB&T Bank (BBT-1-469) (FRE 902(11) certificate at BBT-1);

       American Express (AMEX 1- 758) (FRE 902(11) certificate at AMEX-1);

       Huntington National Bank Records (Huntington – 1 – 1020) (FRE
        902(11) certificate at Huntington-1);

       J.P Morgan Chase Bank (JPMC -1 – 308) (FRE 902(11) certificate at
        JPMC-1);
       PNC Bank (PNC – 1- 703) (FRE902(11) certificate at PNC-1);
       Rev Worldwide (REV-1 – 3) (FRE902(11) certificate at Rev-1); and
       County of Santa Cruz documents (Santa-Cruz – 1- 43) (FRE902(11)
        certificate at SANTA CRUZ-1).

   The government has already produced each of the foregoing documents and
FRE 902(11) certificates to the defense or will provide the certificates with this
filing or well in advance of trial and has identified the location of each document
by Bates number above.



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   By providing this notice, the government does not contend that the foregoing
documents require either the testimony of a records custodians or a FRE 902(11)
certification for their admission into evidence. Nor does the government commit
to the introduction of each document. The government notes that the foregoing
documents may be otherwise admissible under alternative Federal Rules of
Evidence. The government also reserves the right to call any proper evidence
custodian for each of the noticed documents. Nonetheless, the government
provides this notice in an abundance of caution to alert the defendant sufficiently

in advance of trial that the government intends to introduce these business
records pursuant to FRE 902(11) at trial.
   In determining whether documents are admissible pursuant to the business
records exception to the hearsay rule, courts apply Federal Rule of Evidence
803(6). Under the rule, the following evidence is “not excluded by the rule
against hearsay, regardless of whether the declarant is available as a witness”:

      Records of a Regularly Conducted Activity. A record of an act,
      event, condition, opinion, or diagnosis if:
      (A) the record was made at or near the time by--or from information
      transmitted by--someone with knowledge;
      (B) the record was kept in the course of a regularly conducted
      activity of a business, organization, occupation, or calling, whether
      or not for profit;
      (C) making the record was a regular practice of that activity;
      (D) all these conditions are shown by the testimony of the custodian
      or another qualified witness, or by a certification that complies with
      Rule 902(11) or (12) or with a statute permitting certification; and


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      (E) neither the source of information nor the method or
      circumstances of preparation indicate a lack of trustworthiness.

Fed. R. Evid. 803(6). In the instant case, the Government can establish the
admissibility of the third-party records under FRE 803(6) based upon the
business records certifications obtained from the third-party records custodians.
Each of the relevant business records certifications indicates that all five of the

conditions of the FRE 803(6) are satisfied.
   Likewise, the Government can establish the authenticity of the third-party
records based upon satisfaction of the requirements of under FRE 902(11), which
provides that the following evidence is “self-authenticating” and “require[s] no
extrinsic evidence of authenticity in order to be admitted”:

      Certified Domestic Records of a Regularly Conducted Activity.
      The original or a copy of a domestic record that meets the
      requirements of Rule 803(6)(A)-(C), as shown by a certification of the
      custodian or another qualified person that complies with a federal
      statute or a rule prescribed by the Supreme Court. Before the trial or
      hearing, the proponent must give an adverse party reasonable
      written notice of the intent to offer the record--and must make the
      record and certification available for inspection--so that the party
      has a fair opportunity to challenge them.

Fed. R. Evid. 902(11). As previously stated, the business records certifications in
this case attest to the foundational requirements for Rule 803(6).
   It bears mentioning that the admissibility of business records under Rule

803(6), and the procedures set forth in Rule 104 for determination of the
preliminary questions regarding admissibility, are unaffected by the Supreme
Court’s decision in Crawford v. Washington, 541 U.S. 36 (2004), which holds that


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any “testimonial” hearsay may not be admitted in a criminal trial unless the
declarant is unavailable and the defendant has had a prior opportunity for cross-
examination. The Supreme Court made clear in Crawford that business records
are not the type of testimonial statements with which the Sixth Amendment
Confrontation Clause is concerned. Crawford, 541 U.S. at 55 (noting that business
records “by their nature [are] not testimonial”); Crawford, 541 U.S. at 76
(Rehnquist, C.J., concurring) (“To its credit, the Court’s analysis of ‘testimony’
excludes at least some hearsay exceptions, such as business records and official

records.”). Accordingly, business records can be admitted at trial without calling
a witness for the defendant to cross-examine.
   Finally, in making its preliminary determination on the business records, the
Court need only find the facts supporting admissibility by a preponderance of
the evidence. Bourjaily v. United States, 483 U.S. 171, 175 (1987) (“The
preponderance standard ensures that before admitting evidence, the court will

have found it more likely than not that the technical issues and policy concerns
addressed by the Federal Rules of Evidence have been afforded due
consideration.”).


                                          Respectfully submitted,

                                          K URT R. E RSKINE
                                              United States Attorney



                                       /s/J EFFREY A. B ROWN
                                              Assistant United States Attorney

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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


                          Saraliene Durrett

                          Defense Counsel


October 27, 2021


                                            /s/ J EFFREY A. B ROWN

                                            J EFFREY A. B ROWN
                                            Assistant United States Attorney




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